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AFFIDAVIT

. AFFIANT/AGENT. I, Maxwell Loehiein, a Border Patrol Agent of the-United States

Border Patrol, Customs and Border Protection, have been employed by the USBP/CBP:
for. approximately fourteen years and am currently assigned to the Border Patrol Station
at:Pembina, North Dakota.

. Your affiant has reason to. beliéve that Ernesto Flacon Jr. (DOB: XX/XX/1985);
hereinafter Falcon and Rodolfo Arzola-Carrillo (DOB XX/XX/ 1984) hereinafter Arzola
that they knowing that a person is-an alien, brings to of attempts to bring to the United
States in any manner whatsoever such person at.a-place other than a designated port of
entry in violation of 8 U.S.C. § 1324(a)A\(A)(V)(D:

3. INITIAL ENCOUNTER. On November 17, 2022 at approximately 3:34 a.m. the
Pembina County Sheriff's Office (PCSO) received a motorist assistance call. The call
was apparently made by Falcon. Falcon informed PCSO-that his vehicle was stuck in the
ditch neat the intersection of Pembina County Road 55 and 138th Ave, and that he was.
walking with his family on County Road 55, PCSO Deputy Swift responded to the call.
At the time the weather conditions were rapidly deteriorating due to the temperature,
snow, and wind, Deputy Swift.encountered.a total of nine subjects-by the intersection of
County: Road’55 and-135th Ave. Deputy swift observed that all the subjects were dressed
in heavy winter clothing and appeared to be prepared for the weather conditions. Falcon:
requested that he and the other subjects be.taken to a hotel. All these factors led Deputy
Swift to suspect that there was a possible smuggling-attempt. PCSO then transported all
nine subjects to the PCSO in Cavalier, North Dakota.

4. At.approximately 4:36 a.m. Border Patrol Agent (BPA) Cole was alerted by Grand Forks

Sector Dispatch that the PCSO had received a call for asking for assistance with a group
of stranded motorists on Pembina County Road 55 just west of Neche, North Dakota.
BPA Cole contacted Deputy Swift via cellular'telephone and received the biographical
information of the subjects that were encountered. BPA Cole conducted records checks
onthe subjects via Grand Forks Sector Radio Room.

5. Atapproximately 6:15 a.m. BPA Russel arrived at the PCSO in Cavalier. BPA Russel

‘encountered the following subjects there: HERNANDEZ-Ruiz, Naomi Patricia;
MATEOS-Lopez, Gabriela; OCHOA-Casillas, Luis Angel; OCHOA-Torres, Brayan
Jesus; OCHOA-Casillas, Juan; OCHOA-Mateos, Aledia; TORRES-Mendoza, Marth
Yessica; ARZOLA-Carrillo, Rodolfo; and FALCON, Ernesto

. All the subjects admitted to BPA Russel to being illegally present in the United States.
All the subjects were then transported to the Border Patrol Station in Pembina, North
Dakota for processing. At the station Falcon told BPA Russel that he misunderstood him
when BPA Russel was questioning him.and stated that he is.a United States citizen. Luis
‘Ochoa-Casillas and Martha Torres-Mendoza told BPA Russel that they had crossed. into

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the United States from.Canada and that Falcon and Aizola had walked across the border
(from the United States into Canada} to guide them actoss'the border into the. United
States.

POST-ARREST INVESTIGATION. At the Pembina Border Patrol Station, a custodial
interview on Falcon was:conducted by BPAs Backes, Hugley, and Froése. BPA Froese,
witnessed by BPA Backes notified Falcon of his Miranda Rights per Service Form I-214,
Falcon acknowledged his rights by:signing the Service Form J-214 and was willing to
answer questions: without an attornéy present.

Falcon stated that he lives in Tifton, Georgia, where he was born and taised. Falcon also
said that he is currently working for Arzola Construction, which is based in Georgia.
Falcon stated that he met. Arzola through his job, and that he has known Arzola for
approximately two years, Falcon said that Arzola had approached him about the
possibility of “doing some extra work” by smuggling aliens across the United States
border last year. Falcon told Arzola that he was not interested in doing.that. Within the
last several months, however, Falcon started having marriage difficulties that lead to.
divorce. Falcon-stated that-this led to financial difficulties for him, Arzola-then offéred
Falcon the. opportunity to earn some extra money by helping him with picking up aliens
who had just crossed the border. At that time Falcon accepted the offer. Falcon usually
gets paid: $500-$1,000 per ‘subject.

Falcon stated that. Arzola had purchased a Chevrolet Tahoe for him and that it was
registered in Falcon’s name. Falcon stated that the reason Arzola had purchased the
Tahoe was because Arzola is an illegal alien, and that he-has no Georgia: driver’s license.
Falcon also said that the reason Arzola had approached him forhelp is since Arzola
cannot dtive dué to. being unable to acquire a driver's licerise.

Falcon stated that he and. Arzola had previously picked-up four groups (two in September

-and two in October) of border crossers in North Dakota. After Falcon and Arzola would.

pick-up the groups they drive south on Interstate’29 and.then head east on Interstate 94.
Falcon stated, that Arzola makes would, make arrangements with family members of the’

groups to- meet at different places along the interstate highway. Falcon further stated that

Arzola is person who makes all the arrangements related to:picking up subjects, crossing
the border, meeting locations with family members, and payments,

Falcon stated that he and Arzola had left Tifton, Georgia, on November 14, 2022, and
artived in Cavalier, North Dakota, on November 16.between 12:00 and 1:00 a.m.
Between 2:00 and 3:00 a.m., Falcon was:diving in his Tahoe with Arzola in the area.

around Cavalier when he: struck a deer. The vehicle was towed to back to Cavalier. At
that time, they.checked into-the Cedar Inn in Cavalier.

Falcon stated that he and Arzola tried to get the Tahoe repaired. He stated that they were
unable:to fix the Tahoe.themselves. Falcon then said that Arzola had bought a van (black
van ND 439 DHB) for $1000 from some white-guy. He did not.know any other details

about how the van was purchased.

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13. Falcon stated that on November 17, 2022. he and Arzola left the Cedar Inn in Cavalier
between 12:30 and 1:00 am to pick up the aliens they were going to smuggle this trip.
Falcon stated that Arzola told him where to go. He stated that when they got up to the
border area, he got the van stuck in the snow. Then Falcon and Arzola got out of the van
and started walking north. Falcon stated that they had walked for approximately 30-40
minutes before they met the group that was walking south. Falcon also said that he
doesn’t know if he entered Canada or not when he Arzola were walking north. He also
said that he and Arzola walked south with the group to County Road 55 and decided to
call the sheriff's office due to the cold weather and worries about the two children in the
group, one age 9, the other age 4.

14. On November 17, 2022, Arzola was also advised of his Miranda rights per Service Form
I-214 in the Spanish language by BPA Backes and witnessed by BPA Loehlein. Arzola
acknowledged his rights by signing the Service Form I-214 and was willing to answer
questions without an attorney present. A custodial interview was conducted on Arzola by
BPA Backes, Froese, and Loehlein. Arzola stated that a person in Michoacan, Mexico
had contacted him if he could help get his family into the United States. Arzola stated
that this person was one of the people in the group but could not identify him. Arzola
stated that he and Falcon had left the Cedar Inn this morning (November 17,2022) in the
van. Arzola claims that he was never paid, but that the people in the group were going to
pay him $500 for gas once they got to their destination. Arzola said that their ultimate
destination was Georgia.

In my experience, the above facts constitute a violation of 8 U.S.C. § 1324(a)(1)(A)(v)(1).

The foregoing is true and correct to the best of my knowledge and belief.

United States Border Patrol Agent

Subscribed and sworn by reliable electronic means, this om day of November, 2022.

s
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€fare R. Hochhaltér
United States Magistrate Judge

